                                                                                 Case 2:19-cv-09864-CAS-E Document 84 Filed 10/26/21 Page 1 of 2 Page ID #:1167



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                                                                                   8                        UNITED STATES DISTRICT COURT
                                                                                   9         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




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                                                                                  11    BALDWIN PARK FREE SPEECH              CASE NO.: 2:19-cv-09864 CAS-Ex
                                            2049 Century Park East, Suite 3550




                                                                                        COALITION, an unincorporated
                                                                                  12    association; ROBERT EHLERS, an        Assigned to Honorable Christina A. Snyder
                                                 Los Angeles, CA 90067




                                                                                        individual,
                                                      310 500 4600




                                                                                  13                                          [PROPOSED] JUDGMENT
                                                                                                    Plaintiffs,
                                                                                  14                                          Date: October 18, 2021
                                                                                        v.                                    Time: 10:00 a.m.
                                                                                  15                                          Ctrm: 8D
                                                                                        CITY OF BALDWIN PARK,
                                                                                  16                                          Action Filed:      November 18, 2019
                                                                                                    Defendant.
                                                                                  17

                                                                                  18         WHEREAS, Defendant City of Baldwin Park (the “City”) filed a Motion for
                                                                                  19   Summary Judgment (Dkt. # 75);
                                                                                  20         WHEREAS, Plaintiff Baldwin Park Free Speech Coalition’s filed a Non-
                                                                                  21   Opposition to Motion for Summary Judgment (Dkt. # 76);
                                                                                  22         WHEREAS, the City filed a Reply in Support of the Motion for Summary
                                                                                  23   Judgment (Dkt. # 77);
                                                                                  24         WHEREAS, the Court, Hon. Christina A. Snyder, issued a tentative ruling on
                                                                                  25   the Motion for Summary Judgment on October 13, 2021;
                                                                                  26         WHEREAS, the Court held a hearing on the Motion for Summary Judgment
                                                                                  27   on October 18, 2021;
                                                                                  28   ///
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                                                                                                                          JUDGMENT
                                                                                                                  CASE NO. 2:19-CV-09864 CAS-E
                                                                                 Case 2:19-cv-09864-CAS-E Document 84 Filed 10/26/21 Page 2 of 2 Page ID #:1168



                                                                                   1         WHEREAS, the Court having found good cause therefore, adopted its
                                                                                   2   tentative ruling, and entered a Civil Minute Order on October 18, 2021, granting the
                                                                                   3   City’s Motion for Summary Judgment (Dkt. # 82).
                                                                                   4         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
                                                                                   5
                                                                                             1.     Each of Plaintiff Baldwin Park Free Speech Coalition’s remaining
                                                                                   6
                                                                                       causes of action alleged against the City are dismissed with prejudice;
                                                                                   7
                                                                                             2.     Judgment is entered in favor of the City and against Plaintiff Baldwin
                                                                                   8
                                                                                       Park Free Speech Coalition;
                                                                                   9
                                                                                             3.     The City is deemed the prevailing party; and
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                                                                                             4.     Pursuant to agreement of the parties, each party will bear their own fees
                                                                                  11
                                            2049 Century Park East, Suite 3550




                                                                                       and costs.
                                                                                  12
                                                 Los Angeles, CA 90067




                                                                                             IT IS SO ORDERED.
                                                      310 500 4600




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                                                                                       Dated: October 26, 2021
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                                                                                  17                                          HONORABLE CHRISTINA A. SNYDER
                                                                                  18                                          UNITED STATES DISTRICT JUDGE
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                                                                                                                             JUDGMENT
                                                                                                                     CASE NO. 2:19-CV-09864 CAS-E
